        Case: 1:05-cr-00921 Document #: 332 Filed: 06/16/14 Page 1 of 1 PageID #:1990
                                                                                            rnk
                                  CLERK OE THE COURT

FROM:   Executor -Richard- Eugene -Warren                               June   9.    2074
        70874083
        c/o CMU-THA
        P.O. Box 33
        Terre Haute, Indiana       47808                   FILED
TO:     Michael W. Dobbins                                    JUN   16ir014 p
        Clerk of the Court
        U.S. District Court                                THOMASG DRUTON
        2L9 South Dearborn Street                       C]ERK, U.S. DISTRICT COURT
        Chicago, Illinois 60604
RE:     STATEMENT OF    ACCOUNT.        CERTIFIED COPY OF WRIT OF         COMMTMENT

Dear Mr. Dobbins;
        I have writ.ten you andmy wife haq          ou in regards to an
aecount statement regarding cause number             without recej.ving any
such accounti-ng. The FBOP states that, I    EFTnoney " t,o this cour L as
some kind of payment due t,his court and I am entiLled to a statemenL t,hat
reflect,s any amount so claimed by Lhis court and I hereby require a Lrue
copy of same.
        In addit.ion to the above, I hereby also require a Lrue copy of any
execution document, which is executed by a sentencfng judge and signed by
you as t,he Court Clerk as is prescribea Uy law. Since-t,he law states that
no one may be rest,rained of their Libert,y without an order signed by both
a sentencing judge and the Clerk of Lhe -CourL which also bears the seal
of the Court qnd I have request,ed such a document from boLh the FBOP and
t,his court and to date have not received same.
        I furt,her require said documents Lo be either cerLified under t,he
form 2866 (Certificate of Official Record) or in the absence of any such
documents,-please certify that, they do not exisL by using Form 3050 (Cer-
tificate of Lack of Records).
        Since t!1" is my second request, I am taking the liberLy of copying
Congressman Jeff Denham and PatriC J. Leahy-Senatoi. I intend to use any
resPonse in a suit in a forum of my choice t,o address lhis urgent maLLer
which has gone unaddressed for more than two years.
        Thank you    for your prompt       response.
                                             Respect,fully submit ted,
                                             I,lithout ore i udice.
                                             S/r--f; - fr;il,*^A" t ^er* - N r,r,,rr,*
                                             Executor-Richard-Eugene-l,Iarren,         sui Juris
        Congressman    Jeff   Denham
        Senator Patric J. Leahy
bcc:
                                       page 1 of    L
